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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                                      MDL NO. 2924
    PRODUCTS LIABILITY                                                                               20-MD-2924
    LITIGATION
                                                                   JUDGE ROBIN L. ROSENBERG
                                                         MAGISTRATE JUDGE BRUCE E. REINHART

                                                   /

    THIS DOCUMENT RELATES TO:
    ALL ACTIONS

                                          PRETRIAL ORDER # 37
                              Protocol for Common Benefit Work and Expenses

            On February 6, 2020, the Judicial Panel on Multidistrict Litigation transferred the initial

    group of 12 civil actions to this Court for coordinated and/or consolidasted pretrial proceedings.

    Since that time, more than 400 additional civil cases have been direct-filed or transferred to this

    Court and been made part of MDL 2924. Moreover, pursuant to PTO # 15, a Registry has been

    established by this Court to hold a substantial number of additional potential claims as they are

    investigated and assessed for potential later filing. On February 14, 2020, in PTO # 1, the Court

    established, inter alia, procedures for Plaintiffs’ leadership applicants. On May 8, 2020, in PTO

    # 20, the Court appointed Plaintiffs’ Co-Lead Counsel (collectively, “Lead Counsel”), the

    Plaintiffs’ Steering Committee (“PSC”) 1, certain Committee Chairs and the Leadership

    Development Committee (“LDC”) (collectively, “Leadership Counsel”).

            The Court recognizes that, at some time in the future, there may be applications submitted

    by attorneys requesting common benefit fees and/or expenses. The Court expresses no opinion

    regarding whether payment of any common benefit fees or expenses will ever be appropriate.

    Anticipating that fees may be requested in the future, the Court places importance in providing


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     The Plaintiffs’ Liaison Counsel has an ex officio role within the PSC pursuant to PTO # 20, and is thus treated as a
    member of the PSC for purposes of this Order.
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    clarification to counsel regarding how fees and expenses must be documented contemporaneously

    so that appropriate documentation exists. Further, there is importance in giving all counsel as

    much clarity as is possible at this stage in the litigation to aid in deciding whether to incur expenses

    for the common benefit or to participate in receiving the benefits of this MDL.

            The Court acknowledges that reasonable common benefit work and expenses are necessary

    for the collective prosecution of all cases in this MDL litigation. This Order establishes specific

    protocols and guidelines for common benefit work and expenses so that any attorney applying for

    common benefit fees and/or expenses in the future will have notice of the standards that will be

    employed in assessing those applications. These protocols and guidelines are not meant to be

    exhaustive, and the Court may issue additional procedures, limitations, and guidelines in the future.

    Moreover, simply because an expense fits within a category of potential common benefit, or a time

    entry satisfies the standards for reporting set in this Order, it is not a guarantee that such time or

    expense will ultimately be deemed as compensable. Rather, this Order is intended to provide

    guidance to counsel about what will not be considered as common benefit, and the Court expressly

    reserves the determination of whether there should be a common benefit payment, and if so, what

    it should be, until an appropriate time later in the course of this MDL.

            The Court is mindful of the magnitude of the work that will be necessary in this

    consolidated litigation and the need to be efficient and effective in time management and cost

    sensitivity. Further, the Court has as a fundamental goal that all Plaintiffs and Registry Claimants

    and their counsel are treated fairly in common benefit fees and expense assessments and

    considerations of settlement. To further these aims, it is the Court’s intention that the process of

    collecting, holding, and distributing common benefit fees and expenses be as open and transparent

    as possible.



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           Part I of this Order sets forth the application of the common benefit doctrine. Part II of this

    Order addresses the timeliness of authorizing a common benefit fee and expense percentage and

    issuing a holdback. Part III turns to the contemporaneous reporting requirements for any time or

    expenses that counsel may later seek to have compensated through any common benefit fund that

    may be established by this Court.

    I.     Scope of Common Benefit

           This MDL is comprised of not only a number of filed cases in this Court, but also many

    unfiled potential claims in a Registry established pursuant to PTO # 15. The Court anticipates that

    thousands of potential claims will be registered over the coming months. In fact, the number of

    claims in this Court’s Registry may be substantially larger than the number of filed lawsuits in the

    MDL.

           This Order is entered to enable both Plaintiffs’ and Claimants’ Counsel to obtain access to

    and use common benefit work product developed, or to be developed, by Leadership Counsel, and

    also to provide for the fair sharing among Plaintiffs, Claimants, and others who benefit from the

    services performed and expenses incurred by counsel acting for the common benefit in this

    litigation. In so doing, the Court enters this Order to further the purpose of avoiding unnecessary

    expense, conserving judicial resources, and expediting the disposition of all cases, filed, unfiled,

    and/or registered, with respect to the subject matter of this MDL.

           Part I of this Order sets forth (A) the common benefit doctrine, (B) the application of this

    Order to cases filed in the MDL, (C) the application of this Order to potential claims filed in the

    Registry, and (D) the process for counsel or Claimants to complete the Registry Consent.

           A. The Common Benefit Doctrine

           The governing principles are derived from the United States Supreme Court’s common

    benefit doctrine, as established in Trustees v. Greenough, 105 U.S. 527 (1881); refined in, inter

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    alia, Cent. R.R. & Banking Co. v. Pettus, 113 U.S. 116 (1884); Sprague v. Ticonic Nat’l Bank, 307

    U.S. 161 (1939); Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970); Boeing Co. v. Van Gemert,

    444 U.S. 472 (1980); and approved and implemented in the MDL context in, inter alia, In re Air

    Crash at Fla. Everglades on December 29, 1972, 549 F.2d 1006, 1019-20 (5th Cir. 1977); In re

    MGM Hotel Fire Litigation, 660 F. Supp. 522, 525-29 (D. Nev. 1987); In re Zyprexa Prods. Liab.

    Litig., 594 F.3d 113 (2d Cir. 2010); and In re Vioxx Prods. Liab. Litig., MDL No. 1657 (E.D. La.

    Aug. 4, 2005). The Court’s authority to establish a fund and to order contributions also derives

    from its equitable authority and its inherent managerial power over this consolidated and

    multidistrict litigation. See, e.g., Camden I Condominium Ass’n, Inc. v. Dunkle, 946 F.2d 768, 771

    (11th Cir. 1991); In re Diet Drugs, 582 F.3d 524, 546-47 (3d Cir. 2009); In re Air Crash Disaster

    at Fla. Everglades, 549 F.2d 1006, 1008 (5th Cir. 1977); In re Vioxx, 802 F. Supp. 2d 740, 770

    (E.D. La. 2011); Manual for Complex Litigation, § 14.121. Common benefit work product

    includes all work performed for the benefit of all Plaintiffs and Claimants, including pretrial

    matters, discovery, trial preparation, trial, a potential settlement process, and all other work that

    advances this MDL to conclusion.

             B. Cases Filed in the MDL

             This Order applies to all cases now pending in this MDL, as well as any case later filed,

    transferred to, or removed to this Court and treated as part of the coordinated pretrial proceedings

    known as In re Zantac (Ranitidine) Products Liability Litigation, MDL 2924 (collectively “the

    Zantac MDL Cases”). 2 Derivatively, this Order applies to each Plaintiff and Plaintiffs’ Counsel

    in those cases.




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     This Court recognizes the potential for certain cases to be removed from state court and then transferred to this MDL,
    and that retained counsel may at an appropriate point seek remand to state court. The Court expressly reserves the
    determination of whether and how such cases will be treated.
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             C. Potential Claims Filed in the Registry

             This Order applies to all claims now pending in the Registry, as well as any claim later

    filed in the Registry, and therefore treated as part of the Zantac MDL Cases for purposes of this

    Order.

                   i. Common Benefit to Registry Participants

             This Court created a Registry in PTO # 15, which allows for the parties to jointly provide

    the resources necessary to conduct a preliminary investigation into potential claims. These

    benefits to Registry Claimants are the result of substantial time spent by Lead Counsel negotiating

    with defendants as to the creation and implementation of the Registry; for example, Lead Counsel

    have negotiated for the receipt of certain corporate records, product identification information, and

    tolling, which inure to the benefit of the participating Registry Claimants and their counsel. In

    addition, the expenses being incurred in connection with the Registry—for example, those for the

    platform vendor and the Special Master—are incurred as MDL expenses. Registrants may also

    benefit from obtaining certain loyalty card information and/or prescription records from

    participating Retailer defendants, as well as certain cost-sharing on selected records retrieved by

    Lexitas, as set forth in PTO # 15. In parallel with the Registry, Lead Counsel will be moving

    forward with discovery, defending motions to dismiss, and pursuing evidence toward the goal of

    establishing general causation, and ultimately informing the Court and parties of the alleged

    injuries.

             Given the novel nature of the Registry, the Court deems it prudent to provide clarity to all

    stakeholders as to the operation of the Registry, including the application of this Order to the claims

    in the Registry, thus allowing all stakeholders to make an informed decision about whether to opt

    into participation in the Registry. Indeed, while implemented by this Court’s Order, the Registry

    was created by, and remains a vehicle of, party consent—no individual is obligated to put his or

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    her claim into the Registry, just as each defendant has made an election whether to participate in

    the Registry; the courthouse doors remain open to all.

                  ii. Scope of Use of Common Benefit Work Product

            The parties designed the Registry to continue in force until shortly after this Court’s

    Daubert ruling on general causation. In designating this end-date, the parties represented to the

    Court that the Registry process is intended to toll claims not only as individual-specific information

    is gathered, but also to allow for threshold motion practice and for general evidence to be

    developed so that retained counsel have this information before deciding whether to file their

    potential claims as lawsuits.

            Consistent with this intent, Lead Counsel have indicated that they intend to provide

    Registry Counsel with detailed and specific information obtained from each individual defendant

    about those defendants’ involvement with Zantac/ranitidine, to help ensure that each counsel is

    more accurate in naming defendants in any subsequent litigation and that each claim is tied to the

    proper defendants in the Registry in the interim. So too, they have indicated that they intend to

    share work product about their views on the strength of causation evidence as to particular types

    of cancer, as well as the list of cancers they intend to pursue within this MDL, in furtherance of

    the Registry’s purpose. More broadly, the Registry will necessarily incorporate the consequences

    of this information as the parties move forward with the Registry’s purposes of helping assess the

    individual claims in the Registry.

            Because of this intertwining of the Registry’s operation with the core work product of the

    MDL, Lead Counsel have indicated that it is not feasible to allow Registry Counsel to opt-out of

    receiving this information as it is inherent to the purposes of the Registry. Indeed, without this

    educational purpose being fulfilled, the defendants would not receive one of the key benefits to

    their clients of the Registry.

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            The Registry was uniquely constructed by the parties for the purpose of jointly developing

    information about the Zantac/ranitidine claims in this MDL and cooperatively honing the claims

    of Claimants in the Registry. But this purpose cannot be served if Registry Counsel decline to

    receive that information, which would substantially undermine the purposes of the Registry. As a

    result, Lead Counsel have indicated that all Claimants must have full access to all work product in

    the litigation.

            Equally importantly, Registry Counsel are agreeing to use that work product not just for

    Registered Claimants but all individuals they represent. One of the fundamental benefits of the

    Registry for defendants is this information-sharing, assuring that Registry Counsel will use the

    MDL work product to make better-informed decisions about which claims to file and against

    which defendants (if any), wherever filed. And it must be so: Consider a Registry Counsel who

    receives detailed information for example showing that of 21 ANDA holders, Lead Counsel have

    determined which of the 21 manufactured for a particular retailer in a particular year, and Registry

    Counsel is provided with access to the underlying documents on which that assessment was based.

    The Counsel also receives a statement from Lead Counsel that two of the 21 ANDA holders never

    manufactured, despite holding an ANDA, and access to the underlying documentation on which

    that conclusion was based. That Counsel would necessarily use that information in connection

    with deciding what defendants are properly named in any future lawsuit, whether or not the client

    was enrolled in the Registry. This simple example helps illustrate the uniqueness of the Registry—

    but also the reason that Lead Counsel have indicated that a Registry Counsel cannot receive this

    work product without using it for the benefit of all clients they represent, whether registered or

    not.

            Recognizing the complexity of the interactions of these features, the Court believes it is

    essential that all counsel are expressly notified that this is the goal of the Registry and the

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    consequences of registering, and that counsel expressly affirm that understanding before their

    cases are registered. If any counsel elects not to agree to these terms of the Registry, he or she

    remains able to file any litigation in any appropriate forum, including this Court, without any

    prejudice to any of their client’s legal rights—but they will not be able to benefit from tolling,

    cost-sharing, and the other bargained features of the Registry.

           D. Registry Consent Form

           Pursuant to PTO # 23, the first deadline for unfiled Claimants seeking to participate

    voluntarily in the Registry to complete their registration via submission of a Census Plus Form is

    August 17, 2020.     Consistent with the Court’s desire to ensure that counsel have a clear

    understanding of the Registry’s functioning and an opportunity to make an informed election as to

    enrollment of their clients (or themselves, in the case of unrepresented Registry Claimants), the

    Court directs the following process for a Registry Consent to be obtained on behalf of all Registry

    Claimants.

                  i. The Registry Consent Requirement

           This Registry Consent process will ensure that the Lead Counsel, all retained counsel, and

    Registry Claimants have a clear understanding of the role and obligations of Lead Counsel, and

    the scope of the right of access and use of work product by retained counsel. All Plaintiffs’ or

    Claimants’ Counsel in the MDL must complete the following acknowledgment of the terms of use

    for the Registry. For counsel who presently represent only filed MDL Plaintiffs, the Registry

    Consent merely acknowledges their understanding that, if they in the future choose to enroll a

    Claimant in the Registry, then they will be bound by these terms. For counsel who presently intend

    to represent Registry Claimants, the Registry Consent provides clarity on the operation of the

    Registry, the rights of the Claimants and Registry Counsel, and the obligations to which they are

    bound upon completion of the Registry Consent.

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            The Registry Consent will expressly affirm an understanding of the Registry’s structure

    and the obligations of opting into the voluntary Registry, specifically: (a) Acknowledge that the

    Claimant is bound by the terms of the existing PTOs, and consents to the authority of the Court to

    issue additional PTOs governing Claimants, including but not limited to those furthering the

    Registry’s purpose of assisting parties in the joint investigation and assessment of potential claims;

    and consents to this Court’s jurisdiction as to the operation of the Registry, common benefit funds,

    and any other dispute related to the operation of any PTO in this MDL or contract related to the

    Registry. (b) Acknowledge that in order to negotiate these PTOs, the Claimants agree that Lead

    Counsel is authorized to represent them in these negotiations and more broadly to act on their

    behalf to the same extent as a Filed Plaintiff in this MDL; the scope of this authorization is that set

    forth in PTO # 20. (c) Acknowledge that the Claimants have a full right of access to the work

    product of this MDL, that such work product shall be kept confidential, and that counsel

    contractually agree that as a result all of the firm’s Zantac/ranitidine clients will benefit from the

    MDL work product and thus are subject to the common benefit holdback issued by this Court with

    respect to common benefit fees and expenses (if any).

                 ii. Completion of Registry Consent by Retained Counsel

            The link to this Order and the Registry Consent shall be provided by Lead Counsel to those

    firms Lead Counsel are aware intend to participate in the Registry. Such Registry Consent shall

    be completed by an attorney from each participating firm within 15 days of this Order; only one

    Registry Consent need be completed by each firm, as it is on behalf of all clients. If a firm does

    not presently represent either any Plaintiffs in the MDL or Registry Claimants at this time, but

    does so in the future, the 15-day period to complete the form shall commence from the earlier of

    the date that LMI credentials for Zantac are requested or the date a CPF is uploaded on behalf of

    a client of the law firm.

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           LMI shall provide a deficiency notice to any counsel who has Zantac credentials on its

    system who has not provided this Registry Consent within that 15-day period. If such deficiency

    is not corrected within 15 days, a final notice shall be provided to retained counsel by Lead Counsel

    with a 7-day cure period. If the deficiency is not corrected during the 7-day cure period following

    notice by Lead Counsel, retained counsel shall be notified that all Claimants represented by the

    firm are being removed from the Registry. As a consequence, the claims will no longer be subject

    to continued tolling pursuant to PTO # 15. LMI will maintain a record of firms that have completed

    their Registry Consent and provide such list upon request to the Plaintiffs’ and Defendants’ Liaison

    Counsel, Coordinating Counsel, and the Special Master.

           No records shall be obtained for a Registry Claimant until his/her counsel have completed

    the Registry Consent process.

                iii. Completion of Registry Consent by Unrepresented Claimants

           Any unrepresented Claimant who notifies Plaintiffs’ Liaison Counsel of an interest in

    registering his/her claim in the Registry will be provided by LMI and/or Plaintiffs’ Liaison Counsel

    with the Registry Consent and an explanation drafted by Lead Counsel of the timeline for and

    importance of completion. The Registry Consent will need to be accepted by the Claimant and

    returned to LMI or Plaintiffs’ Liaison Counsel prior to any records retrieval or other work being

    done on the claim in the Registry. However, failure to correct this deficiency shall not be the sole

    basis for removing such case from the Registry for such pro se litigants.

                iv. Interaction with Other Agreements; Special Master Authorization

           Lead Counsel have indicated to this Court that they may further enter into Common Benefit

    Work Agreements with certain counsel who seek to perform work for the common benefit and

    whom Lead Counsel seek to authorize to perform such work, and/or a voluntary Participation

    Agreement with counsel that have filed cases in the MDL but do not utilize the Registry for any

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    unfiled Claimant. Nothing in Part I of this Order shall be construed to limit the terms or conditions

    of those Common Benefit Work and/or Participation Agreements. A copy of any such Common

    Benefit Work Agreement or Participation Agreement shall be provided contemporaneously to the

    Special Master via email, with copies to the Plaintiffs’ Lead Counsel and the contracting counsel.

            The Special Master is authorized to assist any pro se litigant or other stakeholder as-needed

    in her discretion, including arranging a meet and confer with Lead Counsel, the Plaintiffs’ Pro Se

    Liaison, or their designee. The Special Master shall have the authority to extend the timelines

    provided in this Order within her sole discretion for a limited period of time. She shall only have

    the authority to modify other terms in Part I of this Order with the written consent of Lead Counsel,

    and only as she deems necessary to accommodate a situation or arrangement not contemplated by

    the terms of this Order as applied to a particular person/entity/stakeholder.

    II.     Timeliness of Authorizing a Common Benefit Fee and Expense Percentage and
            Issuing a Holdback

            In an effort to apprise all attorneys who represent a Plaintiff or Registry Claimant with a

    potential claim related to the Zantac MDL Cases of the proposed common benefit deductions at

    the earliest practicable time, Lead Counsel have requested that the Court approve common benefit

    deductions equal to six percent (6%) for attorneys’ fees and two percent (2%) for expenses, for a

    total of eight percent (8%), to be withheld and deducted from all future settlements or judgments

    involving individual personal injury and/or wrongful death claims involving the subject matter of

    this litigation.

            Lead Counsel have represented to the Court that at this early stage of the litigation—

    following months of discussions and negotiations with defense counsel, preparations for and

    presentations at the Initial Conference and Preliminary Discovery Conference held on May 12 and

    13, 2020, negotiations resulting in entry of the Stipulated Discovery and Case Management

    Schedule (DE # 875), preparation and filing of the Master Personal Injury Complaint on June 22,
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    2020 (DE # 887), and preparation and service of initial discovery, as well as their own internal

    discussions—they recognize the likely scope and enormity of the work and expenses that will be

    necessary for the prosecution of the individual personal injury and wrongful death cases in this

    litigation, as well as the substantial risks inherent in litigation of this nature. Lead Counsel have

    represented to the Court their desire to clearly communicate to non-leadership Plaintiffs’ and

    Claimants’ Counsel, at this early stage in this MDL, their binding commitment to seek a common

    benefit fee and expense percentage that is fair and reasonable and, further, that Lead Counsel will

    not seek to increase the common benefit fee and expense percentage during the course of this

    litigation, thereby allowing non-leadership Plaintiffs’ Counsel and Claimants’ Counsel and their

    clients to make an informed decision whether to participate in this MDL. Lead Counsel believe

    that non-leadership Plaintiffs’ Counsel and Claimants’ Counsel and their clients are entitled to

    know, up front, what Lead Counsel anticipate that they will be charged or assessed and to rely on

    the representations of Lead Counsel that their request for a common benefit fee and expense

    percentage will not be increased at a later stage in the litigation.

            With this spirit of transparency and to encourage and incentivize non-leadership Plaintiffs’

    Counsel and Claimants’ Counsel and their clients to participate in this MDL and associated

    Registry, and based on their assessment of the likely scope and enormity of work and expenses

    that will be necessary for the prosecution of this litigation, as well as the substantial risks inherent

    in this litigation, Lead Counsel have requested that the Court approve common benefit fee and

    expense deductions equal to six percent (6%) for attorneys’ fees and two percent (2%) for

    expenses, for a total of eight percent (8%), and have represented that, if approved by the Court,

    these percentages will remain fixed for the duration of this litigation and Lead Counsel will not

    later seek to increase the proposed common benefit deductions.



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           This Court recognizes the complexity of this litigation, including the substantial number of

    defendants, multiple causes of action and theories of liability of the individual personal injury and

    wrongful death claims, the magnitude of discovery from such a large number of defendants, and

    robust motion practice contemplated by the parties.

           The Court’s review of common benefit orders from other MDLs confirms that, in many

    instances, after setting an initial common benefit fee and cost percentage, plaintiffs’ leadership in

    those MDLs later sought to increase that percentage. According to Lead Counsel, a subsequent

    increase in the common benefit fee and cost percentage can have an adverse affect on non-

    leadership Plaintiffs’ Counsel and Claimants’ Counsel and their clients. Lead Counsel have

    therefore requested that this Court preliminarily approve common benefit deductions equal to six

    percent (6%) for attorneys’ fees and two percent (2%) for expenses, for a total of eight percent

    (8%), subject to the Court’s plenary and final consideration at the time of any settlement reached

    in this MDL, as the maximum common benefit fee and expense deductions to be withheld and

    deducted from all future settlements or judgments involving individual personal injury and/or

    wrongful death claims involving the subject matter of this litigation.

           The Court commends Lead Counsel for recognizing this problem and their willingness to

    take upon themselves a commitment to non-leadership counsel to provide this assurance to those

    counsel who are filing in this MDL and the Registry. The Court has included this request and

    representation by Lead Counsel to provide transparency to counsel as they make these forum-

    selection and contractual decisions. The Court also notes that Lead Counsel have spent an

    enormous amount of time over the past months, and thus may be well-situated to make an

    assessment of the appropriate common benefit percentage.

           However, the Court is less well-situated to make this determination at this juncture. While

    the Court has had the benefit of two status conferences, the coming months will provide the Court

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    with much more information about the scope and magnitude of this MDL and its Registry—

    including but not limited to the commencement of the Registry reports and the start of motion

    practice, which will not only inform the Court directly, but allow the Court to delve into these

    issues more deeply.      So too, while the Court understands that substantial work has been

    performed—and indeed, has repeatedly commended all counsel for their excellent work—the

    Court has not yet seen any common benefit time and expense submissions, which will be useful in

    understanding the magnitude of the work that has been and will be performed.

           The Court therefore declines to authorize a specific common benefit fee and percentage or

    issue a preliminary holdback in this Order at this early juncture. In so declining, the Court notes

    that it has no information to suggest that the requested holdback would be unreasonable, and

    further that it will put substantial weight on Lead Counsel’s representation that such holdback

    should not exceed 8% in total. At an appropriate time, the Court may issue such an Order, and

    establish a mechanism for creating specific accounts to hold these common benefit fee and expense

    deductions for the purpose of reimbursing counsel for common benefit fees and expenses, as well

    as other procedures relating to this program including but not limited to defendants’ obligations,

    if any. But today is simply too early in the litigation.

           The Court will revisit this issue at an appropriate time, and directs Lead Counsel and

    defense counsel to keep the Special Master apprised of any developments (whether in this MDL

    or otherwise) that would make it helpful for the Court to provide clarity on the scope of any

    preliminary common benefit holdback.

    III.   Adoption of Case Management Protocols for Common Benefit Work

           The Court adopts the following protocols for the management of case-staffing,

    timekeeping, cost reimbursement, and related common benefit issues.



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           A. General Framework Protocols

           The recovery of common benefit attorneys’ fees and cost reimbursements will be limited

    to “Common Benefit Counsel.” “Common Benefit Counsel” are defined as: (i) Leadership

    Counsel appointed by the Court in PTO # 20, as well as attorneys and staff of their respective

    firms; (ii) those Plaintiffs’ Counsel previously appointed on an interim basis, pursuant to PTO #s

    4, 5, 8, 9, 14 and 16, to perform certain common benefit work and incur associated expenses

    through the date of entry of PTO # 20; and (iii) other counsel authorized by Lead Counsel in

    writing (email or letter) to perform work and/or incur expenses that may be considered for common

    benefit compensation and/or expense reimbursement.

           Common Benefit Counsel will be eligible to receive common benefit attorneys’ fees and

    reimbursement of expenses only if the time expended, expenses incurred, and activity in question

    (a) were beneficial to the prosecution of this MDL and for the common benefit of Plaintiffs; (b)

    comply with the protocols set forth herein, including being timely submitted; and (c) were

    reasonable in the determination of Lead Counsel and the Court or its designee. Eligibility does

    not pre-determine entitlement to and/or approval of attorneys’ fees and/or expenses. No

    entitlement to and/or payment of common benefit fees or expenses shall be made without this

    Court’s approval. The Court retains discretion to evaluate and determine all requests for common

    benefit fees and expenses submitted by Common Benefit Counsel.

           By performing any common benefit work and seeking payment of common benefit

    attorneys’ fees and reimbursement of expenses, Common Benefit Counsel: (i) acknowledge and

    agree to the terms and conditions herein in writing, including submitting to the Court’s jurisdiction,

    and that the Court will have final authority regarding the determination of common benefit

    attorneys’ fees and expenses, as well as the allocation of such fees and expenses in this matter; (ii)

    agree to be bound by the Court’s determination of common benefit attorneys’ fees and expenses,

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    attorneys’ fee allocations, and expense reimbursements; (iii) expressly waive any right to assert lack

    of enforceability of this Order or otherwise challenge its adequacy to the maximum extent permitted

    by law; and (iv) represent to this Court that they are either Registry Counsel and have completed

    the Registry Consent, or they have otherwise entered into a Common Benefit Work agreement

    with Lead Counsel. Common Benefit Counsel shall provide this acknowledgement via email

    to Lead Counsel and to the Special Master prior to the submission of a first common benefit

    Time and/or Expense Report.

           Lead Counsel, with the assistance of a third party neutral and/or independent Certified

    Public Accountant (“CPA”), specifically tasked with auditing responsibilities, shall be responsible

    for collecting and reviewing monthly common benefit time and expense submissions from

    Common Benefit Counsel, timely auditing such submissions for compliance with the protocols set

    forth in this Order, and informing Common Benefit Counsel in writing when their submissions do

    not comply with the directives and guidelines set forth in this Order. Lead Counsel shall allow

    Common Benefit Counsel a reasonable opportunity to provide a response to notices of non-

    compliance, in order to demonstrate compliance, but in no event shall this time period extend

    beyond 30 days following the date of the notice of non-compliance. The ultimate determination

    of what is compensable common benefit work and expenses, and the extent or rate at which it is

    compensable, is initially within the purview of Lead Counsel, subject to ultimate review and

    approval by the Court.

           B. Compensable Common Benefit Time

                   i. Authorization for Compensable Common Benefit Work

           Authorized common benefit work performed after the date of this Order shall be expressly

    authorized by Lead Counsel in writing to facilitate the litigation and avoid confusion about whether

    particular work was authorized as common benefit work by Lead Counsel.             No time spent on

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    developing or processing purely individual issues in any case, or for an individual client

    (Claimant), will be considered or should be submitted as common benefit work, nor will time spent

    on any unauthorized work. Common Benefit Counsel shall carry out only those tasks made or

    expressly authorized by Lead Counsel in writing. Tasks that are not authorized in writing will not

    be compensated as common benefit work. In the event Common Benefit Counsel are unsure if

    the action they are about to undertake is considered common benefit work and/or within the

    authorization received from Lead Counsel, they shall confirm such authorization to perform such

    work for the common benefit with Lead Counsel in advance in writing (this may be provided by

    email). Common Benefit Counsel shall include a copy of the written authorization for the work

    performed with the monthly time report.

                   ii. Common Benefit Work Tasks

           The following is a non-exhaustive list of examples of presumptively authorized and

    unauthorized common benefit work:

                      a. Conference Calls, Video Conferences, and Meetings. Lead Counsel will
                         convene conference calls, video conferences, and/or meetings of Leadership
                         Counsel to discuss ongoing matters and issues pertaining to the litigation.
                         Likewise, PSC Committees and the LDC will convene conference calls,
                         video conferences, and/or meetings to discuss ongoing matters and issues
                         pertaining to the litigation. Time spent by Lead Counsel, members of the
                         PSC, LDC, Committees, Liaison Counsel, and other Common Benefit
                         Counsel authorized to participate in such calls, conferences, and meetings
                         constitutes common benefit work. There is a presumption that only one
                         participant per firm will qualify for common benefit work during such
                         conference calls, video conferences, and meetings, unless otherwise
                         authorized by Lead Counsel. The Court encourages the use of LDC
                         attorneys wherever appropriate, reminding Lead Counsel of the importance
                         of mentoring and development for these counsel and that, to the extent
                         necessary, the Special Master may waive this presumption to facilitate
                         appropriate use of LDC counsel.

                      b. MDL Status Conferences and Hearings. The Court will hold periodic
                         status conferences and hearings to ensure that the MDL moves forward
                         efficiently and that legal issues are resolved through formal rulings or
                         guidance from the Court. Individual attorneys may attend any status

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                      conference or hearing held in open court to stay up-to-date on the status of
                      the litigation, but except for Lead Counsel and counsel specifically
                      authorized by Lead Counsel, attending such conferences and hearings will
                      presumptively not be considered compensable common benefit work. If the
                      conference or hearing is offered with remote access, by Zoom, or otherwise,
                      other Leadership Counsel may attend but such time shall presumptively not
                      be considered compensable common benefit work. All attorneys have an
                      obligation to keep themselves informed about the litigation so they can best
                      represent their respective clients. The attorneys designated by Lead
                      Counsel to address issues that will be raised at a given status conference or
                      hearing, or requested by Lead Counsel to be present at a status conference
                      or hearing, are working for the common benefit, and their time will be
                      considered for the common benefit.

                   c. Master and/or Consolidated Pleadings, Motions, and Briefs. The
                      following is a non-exhaustive list of work relating to pleadings, motions,
                      and briefs that will be presumptively considered common benefit work: (i)
                      research and preparation of master and/or consolidated complaints and
                      related briefing; and (ii) research and preparation of motions, oppositions,
                      and/or replies to motions, including but not limited to, motions pursuant to
                      Federal Rules of Civil Procedure 12, 23, 45, and 56. If common benefit
                      fees are sought, the Court will need to determine not only the reasonableness
                      of the request but also the contribution of that work. Counsel are therefore
                      directed to maintain descriptions that are detailed to permit the Court to
                      review the reasonableness of time spent given the scope of work assigned
                      to counsel, as well as the importance of the attorney’s work to the outcome
                      of the motion and/or litigation, particularly where multiple attorneys are
                      working on the same briefing. For example, if working on a response to a
                      motion to dismiss and work is divided among counsel, the entry should
                      include not only which motion to dismiss is being worked on, but also which
                      legal argument is being developed and whether the work is legal research,
                      drafting, or collaborating with colleagues on the arguments.

                   d. Depositions. While it is impracticable to impose inflexible rules to cover
                      every conceivable situation, Lead Counsel shall exercise discretion,
                      judgment, and prudence to designate the appropriate number of attorneys to
                      participate in any given deposition commensurate with the nature of that
                      deposition to avoid over-staffing. Thus, for example, the deposition of a
                      causation expert proffered by defendants would typically justify the
                      assignment of more attorneys than would the defense of the deposition of
                      one of Plaintiffs’ fact witnesses. Time (and expenses) for Common Benefit
                      Counsel who are not designated or otherwise authorized to attend the
                      deposition by Lead Counsel may not be considered common benefit work
                      but, rather, considered as attending on behalf of such counsel’s individual
                      client(s). In the event a deposition is offered with remote access, by Zoom
                      or otherwise, other Common Benefit Counsel may attend if authorized in
                      advance by Lead Counsel, but such time shall presumpively not be
                      considered compensable common benefit work.
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                   e. Document Review. Only document review authorized by Lead Counsel
                      and assigned to specific Common Benefit Counsel will be considered
                      common benefit work. The document review done by designated Common
                      Benefit Counsel shall be performed by appropriately trained individuals
                      selected by the firm. If a Common Benefit Counsel elects to review
                      documents that have not been assigned by Lead Counsel, that review is not
                      considered common benefit work. Descriptions associated with “document
                      analysis” or “document review” should contain sufficient detail to allow
                      those reviewing the time entry to generally ascertain what was reviewed.
                      The descriptions should include, for example, the custodian of the
                      document, a general description of the documents reviewed, and the number
                      and bates-range of the documents reviewed.

                   f. Identification and Work Up of Experts. Lead Counsel and the PSC are
                      expected to identify, retain, and work up experts. If a Common Benefit
                      Counsel retains an expert without the authorization of Lead Counsel, she/he
                      understands that the MDL may not need or use that expert and the associated
                      time (and expenses) may not be eligible for common benefit expenses/work.

                   g. Bellwether Trials. The work-up of individual cases is not considered
                      common benefit work. In the event a case is selected as part of an approved
                      bellwether trial process in the MDL litigation, the work performed (and
                      expenses incurred) following selection in working up and trying the case
                      (including work performed as part of the approved bellwether process) may
                      be considered common benefit time to the extent it complies with the other
                      provisions of this Order.

                   h. MDL Video Conferences, Conference Calls, and Webinars. Lead
                      Counsel and Leadership Counsel will convene periodic video conferences,
                      conference calls, and/or webinars so non-leadership Plaintiffs’ attorneys are
                      kept updated on the status of the MDL litigation. The attorneys designated
                      by Lead Counsel to organize and/or give presentations during the periodic
                      video conferences, conference calls, and/or webinars are working for the
                      common benefit by keeping other lawyers informed and educated about the
                      litigation and their time will be considered for common benefit. However,
                      time spent by Common Benefit Counsel who join such calls and/or
                      webinars is presumptively not considered common benefit work. Each
                      attorney has an obligation to keep herself/himself informed about the
                      litigation so she/he can best represent her/his clients, and that is a reason to
                      listen in on those calls and webinars.

                   i. Review of Court Filings and Orders. All attorneys have an obligation to
                      keep themselves informed about the litigation so that they can best represent
                      their respective clients. Review of pleadings, filings, and orders is part of
                      that obligation. Only Lead Counsel and Common Benefit Counsel working
                      on assignments that require them to review, analyze, or summarize those

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                      filings or orders in connection with their assignments are doing so for the
                      common benefit. All other counsel are reviewing those pleadings, filings,
                      and orders for their own benefit and the benefit of their respective clients,
                      and such review is presumptively not considered common benefit work.
                      This paragraph shall not be construed to prevent Lead Counsel and
                      Leadership Counsel from submitting common benefit time for reviewing
                      pleadings, filings, and orders that are necessary for review to fulfill their
                      respective obligations.

                   j. Review of Discovery Responses. All attorneys have an obligation to keep
                      themselves informed about the litigation so they can best represent their
                      respective clients, and that may require them to review discovery responses
                      served in this litigation. Only Lead Counsel and those Common Benefit
                      Counsel designated by Lead Counsel to review and summarize discovery
                      responses for the MDL are working for the common benefit, such that their
                      time may be considered common benefit work. All other counsel are
                      reviewing those discovery responses for their own benefit and the benefit
                      of their respective clients; the review is thus not eligible to be considered as
                      common benefit work.

                   k. Emails and Correspondence. Time recorded for drafting and/or reviewing
                      emails and correspondence, and providing non-substantive responses,
                      generally is not compensable as common benefit work unless germane to a
                      specific task being performed by the Common Benefit Counsel that is
                      directly related to that email or correspondence. Lead Counsel or Common
                      Benefit Counsel will inevitably spend time substantively communicating
                      with opposing counsel, including negotiating particular terms or disputes by
                      email, as part of their assigned common benefit tasks. These types of
                      substantive email correspondence may qualify as common benefit time.
                      Lead Counsel may spend time updating other counsel on matters via email,
                      or task other Common Benefit Counsel with drafting such updates. Where
                      this occurs, while the drafting attorney may be working for the common
                      benefit in keeping others updated, the recipients who are not performing any
                      substantive work on the matter are not working for the common benefit but
                      instead for the benefit of their individual clients. Each attorney has an
                      obligation to keep herself/himself informed about the litigation so that
                      she/he can best represent her/his clients, and that is a reason to review
                      emails to a larger group which involves a matter on which the recipient is
                      not directly and immediately working. In addition, if time submissions are
                      heavy on email review and usage with little related substantive work, that
                      time may be significantly discounted or not compensated at all. Non-
                      substantive administrative and clerical tasks will not be considered as
                      common benefit work unless expressly authorized by Lead Counsel.

                   l. Contract Attorneys. Contract attorneys may only be utilized to perform
                      common benefit work if they are disclosed to and authorized in writing by
                      Lead Counsel. The time incurred by contract attorneys working for

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                      Common Benefit Counsel on authorized assignments is eligible for
                      inclusion as common benefit work, provided it complies with the other
                      requirements in this Order. However, the services of contract lawyers
                      (whether used for document review or any other work) shall be billed at the
                      actual cost of those services to Common Benefit Counsel with no markup
                      or increase.

                iii. Time Records and Hourly Rates

                   a. Recording Requirements. All Common Benefit Counsel shall record and
                      maintain daily, contemporaneous time records for all work performed by
                      attorneys and paralegals, indicating with specificity the name of the person
                      who performed the work, the time billed in one-tenth-of-an-hour (0.10)
                      increments, and the person’s hourly billing rate, along with a description of
                      the activity (such as “conducted deposition of John Doe”). Descriptions
                      must be sufficiently detailed to identify the task and how it relates to
                      Common Benefit Work. Individuals identified in time descriptions must be
                      described by at least their first initial and last name, not by initials. “John
                      Doe” is preferred; “J. Doe” is acceptable; and “JD” is unacceptable.
                      Counsel shall maintain contemporaneous time records in such a way that
                      each billed activity is recorded. Counsel will not be reimbursed for any
                      item of time not described in sufficient detail to determine the nature and
                      purpose of the service or expense. In addition, law clerk time is not
                      compensable as common benefit time.

                   b. Hourly Rates. With the exception of Tier 1 document review (addressed
                      below), customary hourly billing rates shall be used in the monthly time
                      reports submitted to Lead Counsel. Use of these rates does not guarantee
                      their payment. Billing rates should be the then-current hourly billing rates
                      and, if those change, that needs to be reflected in the relevant report. Lead
                      Counsel and the Court reserve the discretion to determine appropriate rates.

                   c. Document Review. Document review can be the most challenging area of
                      a case to keep control over time and expenses. Lead Counsel will contract
                      with a vendor(s) and strive to get the best services for the best price without
                      sacrificing quality. Lead Counsel may direct the use of technology assisted
                      review (“TAR”) and/or predictive coding to prioritize and/or categorize
                      documents produced by defendants and/or third parties, if they believe this
                      will obtain efficiencies and enhance the quality of any systematic document
                      review.

                              In general, once a document database is established on an electronic
                      platform, searches may be used to create a universe of documents to be
                      reviewed by the Tier 1 document reviewers. Procedures should be
                      established to monitor how much time is spent reviewing documents and to
                      monitor the efficiency and quality of the review. Customary hourly rates
                      for attorneys and paralegals engaged in Tier 1 document review shall be
                      billed at their customary hourly rates, while contract attorneys shall be
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                          billed at actual cost; in no event should Tier 1 document review exceed the
                          maximum rate of $350 per hour.

                                 Depending on the volume of documents produced, it is possible that
                          a large number of document reviewers will be needed. Where it proves
                          economically advantageous, Lead Counsel and the PSC may employ
                          contract attorneys to perform efficient and focused document review.
                          Those attorneys would be subject to the procedures set forth herein.
                          However, the services of contract lawyers for document review (or any
                          other work) shall be billed at the actual cost of those services.

           C. Compensable Common Benefit Expenses

                   i. Common Benefit Fund for Common Shared Expenses

           Lead Counsel will establish a Common Benefit Litigation Fund (“Fund”) to receive, hold,

    and disburse funds deemed reasonable and necessary for Common Shared Expenses, as defined

    and outlined herein, to effectively prosecute the common interests of the Zantac MDL Cases. The

    Fund shall be held in an account at a federally insured banking institution, and Lead Counsel shall

    obtain a Federal Tax ID number for such account. The account shall be maintained by Lead

    Counsel. Any funds to be paid out of the Fund shall be paid only upon the direction of Lead

    Counsel. Lead Counsel may retain a CPA to assist in providing regular accountings of the Fund

    to Lead Counsel and the Court, if requested.

           Lead Counsel will periodically make and collect assessments from Common Benefit

    Counsel and shall deposit those assessments into the Fund. All assessments from Common Benefit

    Counsel must be received within thirty (30) days of the request. Failure to pay timely assessments

    will be grounds for removal from court-appointed positions, removal from further common benefit

    work assignments, and/or denial or partial denial of common benefit attorneys’ fees in the Zantac

    MDL Cases.




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                   ii. Common Shared Expenses

           “Common Shared Expenses” are costs and expenses that will be paid out of the Fund.

    Common Shared Expenses are costs and expenses incurred for the common benefit of Plaintiffs as

    a whole in this MDL. No specific client-related costs, save certain costs relating to cases selected

    as bellwether cases that will be for the common benefit (e.g., related to liability and causation),

    shall be considered Common Shared Expenses, unless exceptional circumstances exist and are

    approved by Lead Counsel and later Order of this Court. All Common Shared Expenses must be

    approved by Lead Counsel prior to payment.

           All costs and expenses that meet these requirements and fall under the following categories

    may be considered Common Shared Expenses, subject to the approval of the Court, and may

    qualify for submission and payment directly from the Fund:

                       a. Court, filing, and service costs (including translator costs for Hague service)
                          related to common issues;

                       b. Deposition, court reporter, videographer, and translator costs;

                       c. Document repository (electronic and hard copy) creation, operation,
                          staffing, equipment, and administration;

                       d. Equipment and leases for group common expenses (i.e., computer
                          equipment);

                       e. Expert witness and consultant fees and expenses authorized by Lead
                          Counsel;

                       f. Extraordinary postage for common issues (i.e., mass mailing);

                       g. Printing, copying, coding, and scanning relating to common issues (out-of-
                          house or extraordinary firm costs);

                       h. PSC and other group meetings authorized by Lead Counsel;

                       i.   Research by outside third-party vendors/consultants/attorneys for common
                            issues authorized by Lead Counsel;

                       j.   Common witness expenses;

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                       k. Investigative services authorized by Lead Counsel;

                       l.   Out-of-house or extraordinary administration fees and expenses relating to
                            common issues authorized by Lead Counsel (i.e., equipment, technology,
                            courier services, long distance, electronic service, photocopy and printing,
                            secretarial/temporary staff, meetings, and conference calls, etc.);

                       m. Accounting, tax, and/or legal fees and banking or financial institution
                          charges;

                       n. Special Master fees and expense; and

                       o. All assessments paid by Common Benefit Counsel.

           Lead Counsel shall prepare and be responsible for distributing reimbursement procedures

    and the forms associated therewith. Requests for payments from the Fund for Common Shared

    Expenses shall include sufficient information to permit Lead Counsel and/or the third party neutral

    and/or CPA to account properly for such costs and to provide adequate detail to the Court if

    necessary.

                   iii. Common Held Costs

           “Common Held Costs” are those reasonable costs that do not fall into the Common Shared

    Expenses categories but are incurred for the common benefit of all Plaintiffs in the Zantac MDL

    Cases, and are not subject to payment directly from and/or to reimbursement from the Fund during

    the course of the litigation of the Zantac MDL Cases. Common Held Costs may be eligible for

    payment at the end of the litigation subject to the policies and limitations set forth herein. Client-

    specific and/or case-specific costs are not considered Common Held Costs other than certain

    common benefit costs relating to class representatives and bellwether cases.

           Reasonable costs under the below categories may be eligible for reimbursement as

    Common Held Costs. All Common Held Costs are to be reported monthly by Common Benefit

    Counsel to Lead Counsel and held by the reporting firm until common benefit cost reimbursement

    applications are submitted and determined at the appropriate time during this MDL litigation:

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                      a. Postage, certified mail, shipping, and overnight courier (at actual cost);

                      b. Fax charges (maximum of $1.00 per page);

                      c. Telephone– long distance, conference calls, and cellular (at actual cost);

                      d. In-House photocopying (maximum of $0.15 per page);

                      e. Outside photocopying, printing, or scanning when necessary (at actual

                           cost);

                      f. Computerized research – Lexis, Westlaw, and other computerized legal
                         research (expenses should be exact amount charged the firm for the research
                         related to this MDL litigation and/or appropriately allocated for these
                         research services);

                      g. Temporary personnel to the extent authorized in advance by Lead Counsel
                         (at actual cost);

                      h. Investigative services authorized in advance by Lead Counsel;

                      i.   Bellwether case costs as set forth herein including, but not limited to, case
                           specific expert fees and expenses, deposition, and court reporter costs; and

                      j.   Travel expenses (subject to the limitations set forth below) for depositions,
                           court hearings, and other hearings or meetings at which Common Benefit
                           Counsel’s attendance has been authorized by Lead Counsel.

                  iv. Travel Expense Limitations

           Based on its experience utilizing Zoom technology during COVID-19, the Court believes

    that travel expenses can be reduced significantly through the use of Zoom and similar technology.

    The Court therefore urges Lead Counsel to implement procedures to minimize travel expenses of

    Common Benefit Counsel, wherever practicable, through the use of such technology. The Court

    will expect all Common Benefit Counsel who fail to utilize such technology and seek

    reimbursement for travel expenses to demonstrate why participation in the particular event was

    not possible through use of Zoom or similar technology. Only reasonable travel expenses will be

    eligible for reimbursement as Common Held Costs. Except in extraordinary circumstances


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    approved by Lead Counsel, all travel expense reimbursements are subject to the following

    limitations:

                    a. Airfare.      Reasonable and appropriate airfare will be eligible for
                       reimbursement. Airfare deemed to be excessive or which is not related to
                       an assigned task or judicial requirement will not be considered for
                       reimbursement. The price of a non-refundable coach seat, or its equivalent,
                       will be eligible for reimbursement. If business/first class is used the
                       difference between the business/first class fare and the refundable coach
                       fare must be shown on the travel reimbursement form and only the coach
                       fare will be eligible for reimbursement. Use of a private aircraft will not be
                       reimbursed absent extraordinary circumstances and advance authorization
                       from Lead Counsel. However, in the event any Common Benefit Counsel
                       travel on private aircraft, reimbursement may be submitted for the lesser of
                       coach or business class fare per person as described above;

                    b. Hotel. Reasonable and appropriate hotel accommodations will be eligible
                       for reimbursement. Hotel accommodations and costs can vary greatly by
                       city and location. Counsel are reminded that costs are ultimately paid by
                       the individual Plaintiffs they represent. As a general matter, the maximum
                       hotel reimbursement shall be $450 per night, plus taxes, absent
                       authorization from Lead Counsel. At the same time, in many locations a
                       lower expense may not be reasonable; for example, the current nightly rate
                       in West Palm Beach is only $110 for business class hotels, such that even
                       $200 would not be reasonable, even though it is less than the $450 cap.
                       Counsel are therefore encouraged to keep documentation of the average
                       available room rate of a business hotel (such as Hilton or Marriott) in the
                       city in which the common benefit work was performed, and to seek advance
                       approval from Lead Counsel if there is a unique reason for staying in a
                       particular hotel (for example, proximity to the meeting or deposition being
                       attended);

                    c. Meals. Reasonable meal expenses (excluding alcohol) will be eligible for
                       reimbursement if incurred during travel relating to common benefit work
                       authorized by Lead Counsel. Generally speaking, reasonable meal
                       expenses shall not exceed $124.00 per day;

                    d. Ground Transportation (e.g., Taxi, Uber).            Reasonable ground
                       transportation expenses incurred in connection with authorized travel will
                       be eligible for reimbursement;

                    e. Rental Automobiles. Reasonable and appropriate rental vehicle expenses
                       will be eligible for reimbursement. Luxury automobile rentals will not be
                       fully reimbursed. If luxury automobiles are selected, the difference between
                       the luxury and non-luxury vehicle rates must be shown on the travel
                       reimbursement form, and only the non-luxury rate may be claimed, unless
                       a larger vehicle is needed to accommodate several counsel or to transport
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                       materials necessary to be transported to a deposition or trial (in which case
                       the names of counsel and/or description of the materials shall be included
                       in the reimbursement request);

                    f. Mileage. Mileage claims must be documented by stating origination point,
                       destination, total actual miles for each trip, and rate per mile paid by the
                       Common Benefit Counsel. The allowable rate will be the maximum rate
                       allowed by the IRS; and

                    g. Miscellaneous Travel Expenses. Reasonable miscellaneous cash expenses
                       for which receipts generally are not available (tips, luggage handling, etc.)
                       will be eligible for reimbursement up to $50.00 per trip, as long as the
                       expenses are properly itemized and reasonable.

          D. Protocols for Submission of Time and Expenses

                i. Format

          All monthly time and expense submissions by Common Benefit Counsel must include:

                    a. The Excel form attached as Exhibit A to this Order, which consists of one
                       Excel workbook, within which there will be two “sheets” (marked by tabs
                       at the bottom) - “Time Report” and “Expense Report”;

                    b. In the “Time Report” the person who performed each task should be
                       identified in the column called “Last Name, First Name” by their complete
                       last name, a comma, and their complete first name (e.g., Smith, John).
                       Please do not use abbreviations or initials in this column;

                    c. In the “Time Report” only the ABA Task and Activity Codes listed in
                       Exhibit A shall be utilized unless otherwise directed in writing by the
                       Special Master or Lead Counsel;

                    d. In all Time Reports and Expense Reports, the date must be provided in
                       month/day/year format (e.g., 03/23/20);

                    e. Common Benefit Counsel’s internal computerized time and expense report
                       for the month at issue that supports the entries included on the Time Report
                       and Expense Report for that month; and

                    f. Supporting documentation authorizing the time and expenses reported on
                       the Time Report (i.e., emails or letters authorizing the work performed) and
                       Expense Report (i.e. receipts).




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                     ii. Deadlines

            Monthly time and expense submissions shall be submitted by Common Benefit Counsel to

    Lead Counsel or its designee on a monthly basis, by deadlines and in accordance with the

    guidelines set forth herein. The first submission is due on September 1, 2020, and should include

    all time and expenses from February 14, 2020 (date of entry of PTO # 1) through July 31, 2020. 3

    After this first submission, each monthly submission should include all common benefit time and

    expenses incurred during the preceding month and should be submitted by the fifteenth (15th) day

    of the following month (e.g., the submission due September 15, 2020, should contain all common

    benefit time and expenses incurred from August 1, 2020, through August 31, 2020). Although

    counsel should endeavor to submit all common benefit expenses incurred in a certain month in the

    submission made on the 15th of the next month, the realities of third-party billing and credit card

    statement schedules may make such quick expense submission difficult in some circumstances.

    Thus, submission of “supplemental” common benefit expense reports will be permitted for those

    expenses incurred during the previous six months that—because of circumstances outside the

    Common Benefit Counsel’s control—could not have been submitted by the deadline. Any

    common benefit expenses submitted more than six months in arrears may not be considered or

    included in any compilation of common benefit expense calculation and may be disallowed, except

    for good cause shown and with approval of Lead Counsel. Supplemental submissions of common

    benefit time will be permitted only for good cause shown and with the approval of Lead Counsel.

            Lead Counsel or their designee will review submitted time records and expenses to ensure

    they are reasonable and will notify submitting counsel if time or expenses are deemed not

    reasonable or deficient in any respects. Lead Counsel will take particular care to ensure that


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      If Common Benefit Counsel seek recognition for any time and expenses incurred prior to February 14, 2020, this
    must be submitted by September 1, 2020 as well. However, submission of such time and expenses does not guarantee
    eligibility and/or entitlement for consideration as common benefit time or expenses.
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    duplicative work is not being performed and will adhere to the procedures set forth herein. Lead

    Counsel will have the power to discount or eliminate non-compliant or unnecessary hours or

    expense.

           For the purpose of coordinating these guidelines and tracking common benefit time and

    expenses, Lead Counsel may use a third-party neutral and/or CPA to input, analyze, and/or audit

    Time and Expense Reports. Submission of time and expense records by Common Benefit Counsel

    to a third-party neutral and/or CPA designated by Lead Counsel shall be considered as if submitted

    to Lead Counsel. The third-party neutral and/or CPA will assist in compiling all submissions and

    will provide monthly and quarterly reports to Lead Counsel. These reports will include both time

    and expenses and will summarize, with back-up detail, the submissions of all firms. These reports

    will also include summaries for the different categories of expenses.

                   iii. Verification

           All time and expense submissions shall be reviewed and certified by a partner or

    shareholder in the Common Benefit Counsel firm attesting to the accuracy of the submissions and

    attesting that Common Benefit Counsel believes in good faith that all claimed time and expenses

    are compensable under this Order. Common Benefit Counsel shall keep itemized receipts/invoices

    for all expenses or some other form of proof acceptable for ultimate presentation and approval by

    Lead Counsel and/or the Court. Credit card receipts are an appropriate form of verification so long

    as accompanied by a declaration from counsel that work was performed and paid for the common

    benefit.

                   iv. Failure to Timely Submit Reports and Supporting Documentation

           Common Benefit Counsel’s failure to submit the requested reports in the proper format or

    timely manner is reason to exclude the time and expenses from consideration for payment or

    reimbursement.

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            E. Oversight

            Lead Counsel shall provide the Court with monthly updates of time, cost, and expenses

    of Common Benefit Counsel (unless otherwise requested) in camera regarding the time and

    expenses of Common Benefit Counsel, as well as an accounting of the Fund, including any

    assessments or disbursements. Lead Counsel shall provide the same report to the Special Master,

    including an additional notation of any time discounted, disallowed, or identified as non-

    compliant for any Common Benefit Counsel. Lead Counsel are invited to seek assistance from

    the Special Master in obtaining guidance from the Court if issues arise concerning any of the

    protocols and guidelines set forth in this Order. In addition, at the request of Lead Counsel, the

    Special Master may authorize a brief extension of any deadline set forth in this Order in her

    discretion.

            DONE and ORDERED in Chambers, West Palm Beach, Florida this 31st day of July,

    2020.

                                                         __________________________________
                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE




                                                    30
     Exhibit A               Case 9:20-md-02924-RLR Document         1363 PRODUCTS
                                                      IN RE ZANTAC (RANITIDINE) Entered    onLITIGATION
                                                                                     LIABILITY FLSDMDL  Docket
                                                                                                         2924  07/31/2020 Page 31 of 33
                                                                                       MONTHLY TIME REPORT


For Time Due:               Time Report for:
                                                                                                                    Plaintiffs' Lead
                                                                                                                     Counsel Who
 Last Name, First            Date of Service                                                                          Assigned or                     Time spent                       Case‐Specific?
                    Level                      Activity Code   Task Code   Detailed Description of Work Performed                    Billing Rate                      Fees Total                       Case Name
      Name                    (00/00/0000)                                                                          Approved Work                 (by .1 increments)                      Yes/No
                                                                                                                     or Committee
                                                                                                                         Name
                                                                                                                                                                               $0.00
                                                                                                                                                                               $0.00
                                                                                                                                                                               $0.00
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                                                                                                                                                                               $0.00
                                                                                                                                                                               $0.00
                                Case 9:20-md-02924-RLRIN REDocument     1363 Entered on FLSD Docket 07/31/2020 Page 32 of 33
                                                            ZANTAC (RANITIDINE) PRODUCTS LIABILITY LITIGATION MDL 2924
                                                                                         MONTHLY EXPENSE REPORT

For Expenses Due:                            Expense Report for:                                                                Month Total
                    *************************ALL ORIGINAL RECEIPTS MUST BE MAINTAINED AND PROVIDED TO LEAD COUNSEL UPON REQUEST*************************
                                                                                                                                                                                Case‐Specific?
   Last Name, First Name    Date (00/00/0000)   Expense Type                       Detailed Description                         Amount      Explanation for any late expenses                    Case Name
                                                                                                                                                                                   Yes/No
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             Activity Codes                                          Task Codes                                   Expense Codes
A101 Plan and prepare for                  L110 Fact Investigation/Development                          E101 Copying
A102 Research                              L120 Analysis/Strategy                                       E102 Outside printing
A103 Draft/revise                          L130 Experts/Consultants                                     E103 Word processing
A104 Review/analyze                        L140 Document/File Management                                E104 Facsimile
A105 Communicate (in firm)                 L150 Budgeting                                               E105 Telephone
A106 Communicate (with client)             L160 Settlement/Non‐Binding ADR                              E106 Online research
A107 Communicate (other outside counsel)   L190 Other Case Assessment, Development and Administration   E107 Delivery services/messengers
A108 Communicate (other external)          L210 Pleadings                                               E108 Postage
A109 Appear for/attend                     L220 Preliminary Injunctions/Provisional Remedies            E109 Local travel
A110 Manage data/files                     L230 Court Mandated Conferences                              E110 Out‐of‐town travel
A111 Other                                 L240 Dispositive Motions                                     E111 Meals
                                           L250 Other Written Motions and Submissions                   E112 Court fees
                                           L260 Class Action Certification and Notice                   E113 Subpoena fees
                                           L310 Written Discovery                                       E114 Witness fees
                                           L320 Document Production                                     E115 Deposition transcripts
                                           L330 Depositions                                             E116 Trial transcripts
                                           L340 Expert Discovery                                        E117 Trial exhibits
                                           L350 Discovery Motions                                       E118 Litigation support vendors
                                           L390 Other Discovery                                         E119 Experts
                                           L410 Fact Witnesses                                          E120 Private investigators
                                           L420 Expert Witnesses                                        E121 Arbitrators/mediators
                                           L430 Written Motions and Submissions                         E122 Local counsel
                                           L440 Other Trial Preparation and Support                     E123 Other professionals
                                           L450 Trial and Hearing Attendance                            E124 Other
                                           L460 Post‐Trial Motions and Submissions
                                           L470 Enforcement
                                           L510 Appellate Motions and Submissions
                                           L520 Appellate Briefs
                                           L530 Oral Argument
